                           CASE 0:20-cr-00049-NEB-TNL Doc. 6 Filed 03/02/20 Page 1 of 1


                                              UNITED STATES DISTRICT COURT
                                                  DISTRICT OF MINNESOTA
     TJNITED STATES OF AMERICA,
                                                   PIaintitr                              UIIDER SEAL
     v.
     GARYROBERT DRAKE.                                                                    criminal       No. QA ^CF41          N/€B   J   Krilfi|
                                                Defendant,
                                     APPLICATION F'OR WRIT OF IIABEAS CORPUS
The undersigned attorney hereby applies to the Court for the issuance of a writ of habeas corpus
                CX   )Ad   Prosequendum (           )Ad Testificandum

Name of Detainee: GARY ROBERT DRAKE
Detained at (custodian): MOOSE LAKE CORRECTIONAL FACILITY

The government is requesting the investigating agency to transport                   detainee.       l

Detainee         is: a.)     (X) charged in this distict by: Indicbnent
                      Charging Detainee With: Access with Intent To View Child Pomography. Access with Intent
                To View Child Pomography. Possession of Child Pornography
                or b.)       0 a witress not otherwise available by ordinary process of the Court

Detainee         will:     a.)   ( ) retum to the custody of detaining facility upon tennination of this proceeding
                or         b.)   ( X ) be retained in federal custody until final disposition of federal charges.

Appearance is necessary on March 6,2020 at2:00 p.m.                     i            Courfoom, St. Paul Federal Courthouse.

Dated: March 2,2020




                CX   )Ad Prosequendum                        ( )Ad Testificandum
The above application is granted and the above-named custodian, as well as the United States marshal for this
district, is hereby ORDERED to produce the named detainee, on the date and time recited above, and any
flrther proceedings to be had in this case, and at the conclusion of said proceedings to retum said detainee to
the above-na.med custodian.

 Vlo\ z->=^
Date
Please provide the following,           if known:
     A.K.A(s) (if applicable):                                                  Gender:
     Booking orFed. Reg.#:                                                      DOB:
     Facility Address:               1000 Lake Shore Drive                      Race:
                                     Moose Lake MN   55767                      FBI#:
     Facility Phone:                 218-485-5000
     Cunently Incarcerated For:
                                                                RETTJRN OF'SERVICE

Etcculrd   ol                            by



                                                                                                              02   2020

                                                                                                              COURT ST. PAUL
